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                                  Proposed Attorneys for Debtors
                             14   and Debtors in Possession
                             15                             UNITED STATES BANKRUPTCY COURT

                             16                             NORTHERN DISTRICT OF CALIFORNIA
                             17                                       SAN FRANCISCO DIVISION
                             18   In re:                                       Case Nos.    19 - _______ (___)
                             19                                                             19 - _______ (___)
                                  PG&E CORPORATION,
                             20                                                Chapter 11
                                                                Debtor.
                             21                                                MOTION OF DEBTORS PURSUANT TO 11
                                  Tax I.D. No. XX-XXXXXXX                      U.S.C. §§ 105(a), 363(b), AND 503(b)(9) AND
                             22                                                FED. R. BANKR. P. 6003 AND 6004 FOR
                                   In re:                                      INTERIM AND FINAL AUTHORITY TO PAY
                             23                                                PREPETITION OBLIGATIONS OWED TO
                                   PACIFIC GAS AND ELECTRIC                    CERTAIN SAFETY AND RELIABILITY,
                             24    COMPANY,                                    OUTAGE, AND NUCLEAR FACILITY
                             25                                                SUPPLIERS
                                                                Debtor.
                             26                                                Date:
                                  Tax I.D. No. XX-XXXXXXX
                                                                               Time:
                             27                                                Place:
                             28
                                DEBTORS’ MOTION TO PAY SAFETY AND
                             Case: 19-30088PROVIDERS
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                              1          PG&E Corporation (“PG&E Corp.”) and Pacific Gas and Electric Company (the “Utility”), as

                              2   debtors and debtors in possession (collectively, “PG&E” or the “Debtors”) in the above-captioned

                              3   chapter 11 cases (the “Chapter 11 Cases”), hereby submit this Motion (the “Motion”), pursuant to

                              4   sections 105(a), 363(b) and 503(b)(9) of title 11 of the United States Code (the “Bankruptcy Code”)

                              5   and Rules 6003 and 6004 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), for

                              6   interim and final authority to pay the prepetition claims (the “Operational Integrity Supplier Claims”)

                              7   of certain vendors, suppliers, service providers, and other similar parties and entities that are essential

                              8   to protecting the public health and safety and maintaining the going-concern value and integrity of the

                              9   Debtors’ businesses and operations (the “Operational Integrity Suppliers”). In addition, the Debtors

                             10   further request that the Court authorize, but not direct, banks and financial institutions (the “Banks”) to

                             11   receive, process, honor, and pay, to the extent of funds on deposit, any and all checks issued or to be

                             12   issued and electronic fund transfers requested or to be requested by the Debtors relating to the
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                             13   Operational Integrity Supplier Claims.
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                             14          A proposed form of order granting the relief requested herein on an interim basis is annexed

                             15   hereto as Exhibit A (the “Proposed Interim Order”).

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                              1                         MEMORANDUM OF POINTS AND AUTHORITIES

                              2   I.     JURISDICTION

                              3          The Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157 and 1334, the

                              4   Order Referring Bankruptcy Cases and Proceedings to Bankruptcy Judges, General Order 24 (N.D.

                              5   Cal.), and Rule 5011-1(a) of the Bankruptcy Local Rules for the United States District Court for the

                              6   Northern District of California (the “Bankruptcy Local Rules”). This is a core proceeding pursuant

                              7   to 28 U.S.C. § 157(b). Venue is proper before the Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                              8   II.    BACKGROUND

                              9          On the date hereof (the “Petition Date”), the Debtors commenced with the Court voluntary

                             10   cases under chapter 11 of the Bankruptcy Code. The Debtors continue to operate their businesses and

                             11   manage their properties as debtors in possession pursuant to sections 1107(a) and 1108 of the

                             12   Bankruptcy Code. No trustee, examiner, or statutory committee has been appointed in either of the
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                             13   Chapter 11 Cases.
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                             14          Additional information regarding the circumstances leading to the commencement of the

                             15   Chapter 11 Cases and information regarding the Debtors’ businesses and capital structure is set forth in

                             16   the Declaration of Jason P. Wells, Senior Vice President and Chief Financial Officer of PG&E Corp.,

                             17   filed contemporaneously herewith in support of the Debtors’ chapter 11 petitions and related first day

                             18   relief (the “Wells Declaration”).

                             19   III.   OPERATIONAL INTEGRITY SUPPLIER CLAIMS

                             20          The Debtors are one of the nation’s largest utility companies, providing electric and natural gas

                             21   service to approximately 16 million customers throughout an approximately 70,000-square-mile service

                             22   area in northern and central California. In the normal and day to day operation of their business, the

                             23   Debtors rely heavily on Operational Integrity Suppliers for essential and specialized goods and services

                             24   so that the Debtors can provide safe and reliable electric and natural gas service to their customers’

                             25   homes and businesses, while remaining in compliance with all applicable state and federal laws and

                             26   regulations.

                             27          The Debtors spend an average of approximately $1.9 billion per month on goods and services

                             28 provided by third party vendors and suppliers. As of the Petition Date, the Debtors estimate that they
                                DEBTORS’ MOTION TO PAY SAFETY AND                7
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                              1    owe approximately $116,200,000 on account of Operational Integrity Supplier Claims (the

                              2    “Operational Integrity Supplier Cap”), of which approximately $30,100,000 will come due in the

                              3    first thirty (30) days of the Chapter 11 Cases. 1 These amounts represent approximately 5.5% of the

                              4    Debtors’ total outstanding trade debt as of the Petition Date. A chart outlining the representative

                              5    categories and approximate amounts of the Operational Integrity Supplier Claims that the Debtors are

                              6    seeking authority to pay pursuant to this Motion on an interim and final basis is set forth below. The

                              7    estimated amounts of Operational Integrity Supplier Claims set forth herein and in the chart below are

                              8    exclusive of any amounts that may be owed to Operational Integrity Suppliers that may be entitled to

                              9    administrative expense priority pursuant to section 503(b)(9) of the Bankruptcy Code (the “503(b)(9)

                             10    Claims”). By this Motion, the Debtors also request authority to pay the 503(b)(9) Claims of any

                             11    Operational Integrity Supplier to the extent the Debtors determine it is necessary and appropriate in

                             12    accordance with the procedures and protocol set forth herein; provided, however, any amounts paid by
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                             13    the Debtors in satisfaction of such 503(b)(9) Claims shall not be included in or subject to the
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                             14    Operational Integrity Supplier Cap.

                             15
                                                                                      Approx. Amount           Approx. Amount
                                             Representative Categories of
                             16                                                       Seeking to Pay on        Seeking to Pay on
                                            Operational Integrity Suppliers
                                                                                        Interim Basis             Final Basis
                             17         Safety and Reliability Vendors and
                                                                                         $28,600,000             $110,600,000
                                        Service Providers
                             18
                                        Outage Vendors and Service Providers              $1,200,000               $4,500,000
                             19
                                        Nuclear Facility Vendors and Service
                             20                                                            $300,000                $1,100,000
                                        Providers
                                             Total Estimated Operational
                             21                                                          $30,100,000             $116,200,000
                                               Integrity Supplier Claims
                             22           As described in further detail below and in the Wells Declaration, the Debtors have put into
                             23    place detailed procedures for identifying and selecting Operational Integrity Suppliers and ensuring
                             24    that only Operational Integrity Suppliers will be paid pursuant to this Motion on account of their
                             25
                                   1
                                    Concurrently herewith, the Debtors have filed a separate Motion seeking authority to pay, among
                             26   other things, the prepetition claims of certain third-party shippers, warehousemen, and other entities
                             27 that could potentially assert liens against the Debtors’ property on account of their prepetition claims
                                  (the “Lien Claimants Motion”). Although the Debtors have endeavored to provide accurate figures
                             28 and calculations herein, there may, in some instances, be overlap between the amounts sought to be
                                  expended herein and the amounts sought to be expended pursuant to the Lien Claimants Motion.
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                             1    prepetition claims.

                             2    IV.    THE DEBTORS’ OPERATIONAL INTEGRITY SUPPLIERS

                             3           In order to fulfill their obligations to provide safe electric and natural gas service to their

                             4    approximately 16 million customers in northern and central California, the Debtors rely on the goods

                             5    and services provided by the Operational Integrity Suppliers to maintain and safely and reliably operate

                             6    their vast network of production, transmission, and distribution facilities. Due to the complex,

                             7    technical, and potentially hazardous nature of the Debtors’ facilities, the Debtors often do business

                             8    with a select vendor for particular goods or services and rely on such vendor as the Debtors’ primary

                             9    supplier or service provider (i.e., the supply source for certain complex parts and specialty equipment,

                             10   specifically designed systems, and specialized labor necessary to the Debtors’ operations).

                             11   Additionally, certain of the Operational Integrity Suppliers have developed capabilities and expertise

                             12   specific to the Debtors’ needs that cannot be easily or cost-effectively replaced, if at all, and which
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                             13   would be lost if the Debtors were forced to seek similar services elsewhere. Further, due to the myriad
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                             14   of federal and state regulations under which the Debtors operate, many of the Operational Integrity

                             15   Suppliers are required to possess certain certifications, permits, or licenses in order to provide goods

                             16   or services to the Debtors. The universe of vendors that possess such certifications, permits, or licenses

                             17   is limited, and, thus, the Debtors are likely to encounter significant difficulty replacing such

                             18   Operational Integrity Suppliers on a timely basis, if at all.

                             19          As set forth in the Wells Declaration, the Operational Integrity Suppliers generally fall into

                             20   three primary categories: (i) entities that provide goods and services necessary for safe and reliable

                             21   electric and natural gas service (the “Safety and Reliability Vendors”); (ii) entities that provide goods

                             22   and services related to planned and unplanned outages (the “Outage Vendors”); and (iii) entities that

                             23   provide goods and services in connection with the Debtors’ operation and decommissioning of their

                             24   nuclear reactor power units (the “Nuclear Facility Vendors”). Each of these categories of Operational

                             25   Integrity Suppliers is discussed in further detail below.

                             26          A.      Safety and Reliability Vendors

                             27          Safety is a core value for a utility company.            The potentially hazardous nature of the

                             28   transmission and distribution of electricity and natural gas and the generation of electricity mandates a

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                             1    focus on the safety of the public, the Debtors’ workforce, and the Debtors’ contractors. Further, reliable

                             2    electric and natural gas service is of the utmost importance to the safety, health, and welfare of the

                             3    Debtors’ customers and their communities, as well as to the efficiency of the economy of central and

                             4    northern California.

                             5           The Safety and Reliability Vendors generally fall into one or more of the following

                             6    subcategories: (i) entities that provide goods and services that are highly specialized (the “Specialized

                             7    Vendors”) and/or closely integrated with the Debtor’s business operations and customer relationships

                             8    (the “Integrated Vendors” and, together with the Specialized Vendors, the “Specialized and

                             9    Integrated Vendors”); (ii) select, pre-qualified, or geographically limited providers of critical goods

                             10   (the “Critical Goods Vendors”); and (iii) entities that provide goods and services related to the

                             11   Debtor’s regulatory compliance obligations (the “Regulatory Compliance Vendors”).

                             12                  1.      Specialized and Integrated Vendors
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                             13          The Debtors rely on Specialized and Integrated Vendors to provide specialized services that
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                             14   are closely integrated with the Debtors’ transmission, distribution, generation, and retail business

                             15   operations. In certain cases, the Debtors must obtain the services of a Specialized Vendor because

                             16   state and federal laws and regulations require vendors to possess certain certifications, permits,

                             17   licenses, particular knowledge, or technical “know-how.”          Consequently, certain services (e.g.,

                             18   electrical, line-related, welding, waste-removal, earth-moving, information-technology, security, and

                             19   cybersecurity services) may only be performed by Specialized Vendors due to the risks posed by the

                             20   nature of the Debtors’ facilities, which expose Specialized Vendors to, among other things, high-

                             21   voltage electricity, high-pressure gas, high-speed rotation motors, and potentially hazardous or

                             22   radioactive substances. A very limited number of vendors possess the certifications, permits, licenses,

                             23   knowledge, technical “know-how,” experience, or safety qualifications necessary to perform the

                             24   services that are provided by the Specialized Vendors, and, therefore, such vendors cannot be easily

                             25   replaced.

                             26          For example, the Debtors rely on Specialized Vendors such as wildland firefighting and rescue

                             27   servicers to provide onsite fire suppression services. The Debtors also rely on Specialized Vendors to

                             28   provide base camp services for the Debtors’ personnel. These base camp services include providing

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                             1    materials to support the Debtors’ fleet operations, and providing telecommunications, electrical

                             2    support, housing, and meals for the Debtors’ personnel on the field.

                             3            Integrated Vendors provide the Debtors with certain customer-facing services, such as

                             4    customer outreach and account management (e.g., establishing and disconnecting service, metering,

                             5    billing, and collecting payments). These services are crucial to maintaining the Debtors’ customer

                             6    relationships and executing their business strategies. Even if the Debtors could identify substitute or

                             7    replacement vendors in a timely fashion that possess the necessary qualifications, experience, and skill

                             8    to provide these customer-facing services, the Integrated Vendors have specific knowledge of the

                             9    Debtors’ business operations, facilities, and customer demands, which knowledge has been developed

                             10   over the course of the Debtors’ longstanding relationships with the Integrated Vendors and which

                             11   cannot be easily replaced. Moreover, attempting to replace the Integrated Vendors during this critical

                             12   early period of the Chapter 11 Cases likely would cause significant disruption to the Debtors’
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                             13   operations and relationships with their customers, to the detriment and prejudice of all parties in
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                             14   interest.

                             15                  2.      Critical Goods Vendors

                             16           The Debtors rely on Critical Goods Vendors to supply essential electrical and gas equipment,

                             17   specialized materials and replacement parts, operations consumables, raw materials, fuels, and certain

                             18   other goods required to operate the Debtors’ electric and natural gas transmission and distribution

                             19   systems and generation units. In some cases, there is no alternative provider for certain of these critical

                             20   goods. For example, certain Critical Goods Vendors supply the Debtors with specialized electrical

                             21   equipment, transformers, specially fabricated repair and replacement parts, and other equipment

                             22   necessary for the Debtors’ transmission, distribution, generation, and gas assets. These parts and

                             23   materials are based on patented or trade-secreted designs and are available only from limited sources.

                             24           In other cases, alternative vendors cannot supply the requisite critical goods in sufficient

                             25   quantity or with sufficient reliability, or such vendors are unable to supply critical goods of sufficient

                             26   quality on a cost-effective or timely basis in the appropriate geographic areas. For example, the modern

                             27   electrical grid relies on switch gear, transformers, and other state-of-the-art equipment to manage

                             28   advanced electronic metering, communications, and control technologies. Maintaining the reliability

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                             1    of the electrical transmission and distribution system, therefore, requires the immediate availability of

                             2    replacement parts for this critical equipment when such equipment is out of service. Similarly, certain

                             3    of the Debtors’ electricity generation facilities are designed to utilize bulk quantities of specialized

                             4    chemicals as part of their energy-production and pollution-control activities. Due to the chemical

                             5    specifications and the quantities involved, the Debtors are dependent on a few Critical Goods Vendors

                             6    to keep the electricity generation facilities in operation. Certain raw materials and fuels used in the

                             7    Debtors’ generation facilities and gas assets are sourced locally because of the expense and inefficiency

                             8    associated with transporting such materials and fuels. In many cases, there may be limited capacity to

                             9    provide critical equipment, materials, or fuels within the general vicinity of a given electric or natural

                             10   gas transmission or distribution asset or generation facility.

                             11                  3.     Regulatory Compliance Vendors

                             12          The Debtors rely on Regulatory Compliance Vendors to assist in complying with various state
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                             13   and federal laws and regulations. For example, among other things, the Debtors rely on certain
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                             14   Regulatory Compliance Vendors to (i) manage the vegetation that grows near the Debtors’

                             15   transmission and distribution lines, (ii) perform safety checks and quality-assurance monitoring on

                             16   electric transmission and distribution equipment, (iii) test emissions from the Debtors’ facilities to

                             17   ensure compliance with environmental laws and regulations, and (iv) remove regulated waste and

                             18   chemicals from the Debtors’ facilities for proper disposal.

                             19          The services provided by the Regulatory Compliance Vendors are critical to maintaining the

                             20   safety and compliance of the Debtors’ operations. Proper vegetation management reduces the risk of

                             21   creating dangerous or hazardous conditions within the Debtors’ service area. Even the briefest

                             22   disruption in the services provided by the Regulatory Compliance Vendors could cause significant

                             23   disruption to the Debtors’ operations or increase the risk to the public. In addition, proper disposal of

                             24   regulated waste and chemicals not only protects the environment and benefits the public health, but

                             25   also ensures the safety of the Debtors’ employees. Further, absent the services provided by the

                             26   Regulatory Compliance Vendors, governmental entities may attempt to take various actions that would

                             27   have severe negative consequences on the Debtors’ operations, including levying fines or penalties

                             28   against the Debtors, disallowing cost recovery for such services, requiring that certain of the Debtors’

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                             1    facilities be idled or closed, or potentially revoking the Debtors’ permits or licenses.

                             2           B.      Outage Vendors

                             3           The Debtors regularly plan outages of certain of their electric transmission and distribution

                             4    assets, generation units, and gas facilities. During such planned outages, Outage Vendors perform

                             5    maintenance on and repair, replace, upgrade, refuel, refurbish, and stress-test the Debtors’ generation

                             6    and gas assets in an effort to ensure that such assets perform optimally during periods when electricity

                             7    and gas consumption are at their peak. The Debtors schedule the planned outages for the least amount

                             8    of time possible.

                             9           Additionally, certain unplanned outages occur, oftentimes as a result of natural hazards or

                             10   mechanical failures, particularly during storm season. To restore service to their customers as quickly

                             11   as possible, the Debtors utilize Outage Vendors to assist their crews in repairing power lines, poles,

                             12   and transmission equipment. Certain of the Outage Vendors also provide critical monitoring services
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                             13   during storms or periods of high wind to reduce the occurrence and/or impact of unplanned outages.
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                             14          The Debtors’ Outage Vendors are skilled professionals and have specialized knowledge

                             15   necessary to safely and reliably perform the required tasks during both planned and unplanned outages.

                             16   It would be difficult for the Debtors to replace the Outage Vendors in a quick, safe, and cost-efficient

                             17   manner and, therefore, the Outage Vendors are necessary and critical to the Debtors’ operations.

                             18          Any delay in obtaining goods and services from the Outage Vendors likely would extend the

                             19   duration of both planned and unplanned outages, which, in addition to increasing the cost of the

                             20   outages, would adversely impact the reliability of the Debtors’ electric transmission and distribution

                             21   assets, generation units, and gas facilities, as well as the supply of electricity and gas to the Debtors’

                             22   customers.

                             23          C.      Nuclear Facility Vendors

                             24          The Nuclear Facility Vendors provide goods and services in connection with the Debtors’

                             25   operation and decommissioning of their nuclear reactor power units located at the Diablo Canyon

                             26   Power Plant and Humboldt Bay Power Plant. The Nuclear Facility Vendors maintain, repair, inspect,

                             27   and refurbish the equipment located at these facilities and provide fuel and parts, as well as disposal,

                             28   quality-control, physical-plant-security, and cybersecurity services. The Debtors’ nuclear operations

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                             1    and decommissioning activities are subject to extensive oversight by the United States Nuclear

                             2    Regulatory Commission and other regulatory bodies. The Nuclear Facility Vendors are highly skilled

                             3    and have specialized knowledge in the nuclear reactor space. Replacing Nuclear Facility Vendors

                             4    would be difficult, time-consuming, and expensive. Any disruption with respect to the Debtors’ current

                             5    nuclear assets could have significant regulatory consequences for the continued operation of those

                             6    assets and adversely affect the public safety and health, as well as the reliability of the California

                             7    electricity market.

                             8           As demonstrated above, the Operational Integrity Suppliers are essential to the Debtors’

                             9    businesses and the lack of any of their particular goods, services, or skills, even for a short duration,

                             10   could present public health and safety risks, would disrupt the Debtors’ operations, and would cause

                             11   irreparable harm to the Debtors and their reorganization efforts under chapter 11. In addition, many

                             12   of the Operational Integrity Suppliers are smaller, independent, or regional operators and, given the
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                             13   already limited pool of such vendors and service providers in the geographic area, which pool has been
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                             14   further limited by the Debtors’ current financial situation, it would be difficult (and at times impossible)

                             15   to replace such vendors or suppliers on a timely basis.

                             16   V.     IDENTIFICATION OF THE OPERATIONAL INTEGRITY SUPPLIERS

                             17          The Debtors, with the assistance of their advisors, spent significant time prior to the Petition

                             18   Date analyzing and reviewing their operations, books and records, accounts payable systems, and

                             19   prepetition vendor and service provider lists to identify those vendors, suppliers, and service providers

                             20   that are in fact critical to the Debtors’ operations and public health and safety, the loss of which could

                             21   materially harm the Debtors’ businesses and/or their customers and the public, in order to determine

                             22   the Operational Integrity Suppliers. Through this process, the Debtors considered the following

                             23   criteria: (i) whether a particular vendor or service provider is a select supplier or service provider; (ii)

                             24   whether the services provided by the vendor are so vital, or the vendors’ operations are so intertwined

                             25   with the Debtors’ businesses, that even the briefest disruption would raise safety or reliability risks or

                             26   cause significant harm to the Debtors’ operations; (iii) whether the Debtors would be unable to obtain

                             27   comparable goods or services from alternative sources on a cost-effective basis within a reasonable

                             28   timeframe; (iv) whether the Debtors’ current inventory levels or service coverage is sufficient to meet

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                             1    customer demands while an alternative vendor or service provider could be located or qualified; (v)

                             2    whether a vendor is party to an executory contract with the Debtors; and (vi) whether the vendor or

                             3    service provider might be able to obtain (or has obtained) mechanics’ liens, possessory liens, shippers’

                             4    liens, or similar state-law trade liens on property necessary for the Debtors’ ongoing operations.

                             5           After evaluating the information relevant to the above criteria, the Debtors have and, upon

                             6    approval of the Court, will continue to designate, in their discretion, certain vendors as critical to the

                             7    Debtors’ operations and, therefore, as Operational Integrity Suppliers. To do so, the Debtors have

                             8    designated a centralized, high-level team comprised of representatives of the Debtors’ supply chain,

                             9    finance, treasury, and in-house legal departments (collectively, the “Supplier Management

                             10   Committee”) to review, assess, and (if the relief requested herein is granted), authorize payment to

                             11   Operational Integrity Suppliers. The Debtors and their advisors have already implemented a detailed

                             12   protocol (the “Payment Protocol”) to route all requests for Operational Integrity Supplier treatment
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                             13   through the Supplier Management Committee and to educate procurement, payables, and operations
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                             14   personnel on the process.

                             15          As set forth above, the Debtors estimate that the aggregate amount owed to Operational

                             16   Integrity Suppliers for goods delivered or services provided during the period before the Petition Date

                             17   is approximately $116,200,000.       Of this amount, the Debtors are requesting authority to pay

                             18   $30,100,000 of Operational Integrity Supplier Claims on an interim basis.

                             19          A.      Proposed Conditions to Receiving Payment
                             20
                                         To minimize the amount of payments required if the relief sought herein is granted, the Debtors
                             21
                                  will utilize the Payment Protocol to identify particular Operational Integrity Suppliers and pay
                             22
                                  Operational Integrity Supplier Claims. The Debtors’ Payment Protocol can be generally summarized
                             23
                                  as follows:
                             24
                                         i.      All aspects of any proposed payment of an Operational Integrity Supplier Claim will be
                             25                  scrutinized for, among other things, the amount of payment at issue, the terms offered
                                                 by the particular vendor, whether the supplier is party to an executory contract, and the
                             26                  business need for the goods or services at issue.
                                         ii.     All requests for Operational Integrity Supplier treatment, or vendors refusing shipment
                             27                  of goods or the provision of services due to non-payment of prepetition claims, will be
                                                 received and reviewed by the Debtors’ Supplier Management Committee. Operational
                             28                  Integrity Supplier Claims will not be paid unless approved by the Supplier Management
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                             1                  Committee. Additionally, the Supplier Management Committee will consult with the
                                                Debtors’ outside legal and financial advisors, as necessary, to ensure compliance with
                             2                  the Payment Protocol and that only those claims that are essential to maintaining the
                                                Debtors’ operations are paid pursuant to this Motion.
                             3           iii.   In addition to approval from the Supplier Management Committee, any request for
                                                payment of an Operational Integrity Supplier Claim in excess of $5,000,000 must be
                             4                  approved by the Debtors’ Chief Financial Officer.
                             5           iv.    The Debtors shall endeavor to document all proposed payments pursuant to an executed
                                                Vendor Agreement (as defined below).
                             6           v.     Payments may be executed by specifically designated members of the Debtors’ Supplier
                                                Management Committee when the Payment Protocol has been completed and upon
                             7                  presentation of completed documentation.
                             8           Although the Debtors and their advisors have effectively “pre-screened” certain vendors that
                             9    have satisfied the criteria for Operational Integrity Supplier treatment, the Debtors are keenly aware
                             10   that they must be prepared to address new or additional exigencies should they emerge, particularly in
                             11   light of the size and scope of the Debtors’ operations. Thus, the Debtors’ Payment Protocol includes
                             12   specific processes by which suppliers and vendors, including suppliers and vendors that may provide
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                             13   essential goods or services outside of the aforementioned representative categories, may be designated
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                             14   as “Operational Integrity Suppliers” on a case-by-case and ongoing basis.
                             15          B.     Vendor Agreements
                             16
                                         The Debtors propose to condition the payment of Operational Integrity Supplier Claims on the
                             17
                                  agreement of individual Operational Integrity Suppliers to supply goods and services to the Debtors (i)
                             18
                                  on the normal and customary trade terms, practices, and programs (including credit limits, pricing
                             19
                                  rebates, cash discounts, timing of payments, coupon reconciliation, and other applicable terms and
                             20
                                  programs) that were in effect between such Operational Integrity Supplier and the Debtors within the
                             21
                                  twenty-four (24) month period prior to the Petition Date (the “Customary Trade Terms”), or (ii) such
                             22
                                  other trade terms as agreed to by the Debtors and an Operational Integrity Supplier. If the Debtors are
                             23
                                  unable to negotiate the continued supply of goods or the provision of services upon Customary Trade
                             24
                                  Terms, the Debtors seek authority, based on their business judgment, to pay Operational Integrity
                             25
                                  Suppliers all or a portion of their Operational Integrity Supplier Claims in return for the continued
                             26
                                  supply of critical goods or the provision of services.
                             27
                                         To ensure that Operational Integrity Suppliers continue doing business with the Debtors on
                             28
                                 Customary Trade Terms or on such other terms as agreed to by the Debtors and an Operational Integrity
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                             1    Supplier, the Debtors propose (i) that a letter substantially in the form attached hereto as Exhibit B

                             2    (the “Vendor Agreement”) be delivered to, and executed by, the Operational Integrity Suppliers,

                             3    along with a copy of the order granting the relief requested herein, and (ii) that payment of Operational

                             4    Integrity Supplier Claims include a communication of the following statement:

                             5           By accepting this payment, the payee agrees to the terms of the order of the United States
                                         Bankruptcy Court for the Northern District of California, dated _________, 2019, in the
                             6
                                         chapter 11 cases of PG&E Corporation and Pacific Gas and Electric Company (Case No.
                             7           19-_____(__)), authorizing the Debtors to pay prepetition obligations of Operational
                                         Integrity Suppliers.
                             8

                             9           If the Debtors, in their discretion, determine that an Operational Integrity Supplier has not

                             10   complied with the terms and provisions of the Vendor Agreement or has failed to continue to comply

                             11   with the Customary Trade Terms or such other terms that are individually agreed to by the Debtors and

                             12   such Operational Integrity Supplier, following the date of the agreement, the Debtors may terminate a
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                             13   Vendor Agreement. If a Vendor Agreement is so terminated, or if an Operational Integrity Supplier
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                             14   that has received payment of a prepetition claim later refuses to continue to supply goods or services

                             15   in compliance with the Vendor Agreement or as otherwise agreed with the Debtors, the Debtors reserve

                             16   their rights to and may seek approval from this Court to (i) deem such payment to apply to postpetition

                             17   amounts payable to such Operational Integrity Supplier, if applicable, or (ii) take any and all

                             18   appropriate steps to cause such Operational Integrity Supplier to repay payments made to it on account

                             19   of its Operational Integrity Supplier Claim to the extent that such payments exceed the postpetition

                             20   amounts then owing to such Operational Integrity Supplier. The Operational Integrity Supplier Claim

                             21   shall then be reinstated in such an amount so as to restore the Debtors and the Operational Integrity

                             22   Supplier to their original positions as if the payment of the Operational Integrity Supplier Claim had

                             23   not been made.

                             24          Some of the Operational Integrity Suppliers may also possess or have the right to assert

                             25   mechanics’ liens, possessory liens, or similar state-law trade liens (the “Liens”) on the Debtors’ assets

                             26   based upon the claims held by those Operational Integrity Suppliers. As a further condition of

                             27   receiving payment of an Operational Integrity Supplier Claim, the Debtors propose that an Operational

                             28   Integrity Supplier must agree to take whatever action is necessary to remove the Lien at the Operational

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                             1    Integrity Supplier’s sole expense.

                             2           Finally, the Debtors propose to maintain a matrix summarizing (i) the name of each Operational

                             3    Integrity Supplier paid, (ii) the amount paid to each Operational Integrity Supplier on account of its

                             4    Operational Integrity Supplier Claim (and any 503(b)(9) Claims), and (iii) the type of goods or services

                             5    provided by that Operational Integrity Supplier. This matrix will be provided, upon request, to the

                             6    Office of the United States Trustee and the professionals retained by any official committee appointed

                             7    in the Chapter 11 Cases; provided, that the professionals for any such committee shall keep the matrix

                             8    confidential and shall not disclose any of the information in the matrix to anyone, including any

                             9    member of such statutory committee, without the prior written consent of the Debtors.

                             10   VI.    BASIS FOR RELIEF REQUESTED

                             11          As stated, pursuant to this Motion, the Debtors seek authority to pay the prepetition claims of

                             12   the Operational Integrity Suppliers because they are critical to public safety and health and to
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                             13   preserving the value of the Debtors’ businesses and their viability as a going-concern enterprise in an
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                             14   aggregate amount not to exceed the Operational Integrity Supplier Cap. As discussed herein, the

                             15   Operational Integrity Suppliers are so essential to the Debtors’ businesses that the lack of any of their

                             16   particular goods or services, even for a short duration, would disrupt the Debtors’ operations and cause

                             17   irreparable harm to the Debtors and perhaps the public health and safety, as well. Accordingly, the

                             18   Debtors respectfully request that the Court authorize the relief requested herein pursuant to sections

                             19   105(a), 363(b), and 503(b)(9) of the Bankruptcy Code.

                             20          A.     Payment of the Operational Integrity Supplier Claims Is Warranted Under
                                                Sections 363(b) and 105(a) of the Bankruptcy Code
                             21
                                         Section 363(b) of the Bankruptcy Code provides, in relevant part, that “[t]he [debtor], after
                             22
                                  notice and a hearing, may use, sell, or lease, other than in the ordinary course of business, property of
                             23
                                  the estate.” 11 U.S.C. § 363(b)(1). Under section 363 of the Bankruptcy Code, a court may authorize
                             24
                                  a debtor to pay certain prepetition claims where a sound business purposes exists for doing so. See In
                             25
                                  re Ionosphere Clubs, Inc., 98 B.R. 174, 175 (Bankr. S.D.N.Y. 1989). The business judgment rule is
                             26
                                  satisfied where “the directors of a corporation acted on an informed basis, in good faith and in the
                             27
                                  honest belief that the action taken was in the best interests of the company.” See, e.g., Official Comm.
                             28

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                             1    of Subordinated Bondholders v. Integrated Res., Inc. (In re Integrated Res., Inc.), 147 B.R. 650, 656

                             2    (S.D.N.Y. 1992) (quoting Smith v. Van Gorkom, 488 A.2d 858, 872 (Del. 1985)); see also F.D.I.C. v.

                             3    Castetter, 184 F.3d 1040, 1043 (9th Cir. 1999) (the business judgment rule “requires directors to

                             4    perform their duties in good faith and as an ordinarily prudent person in a like circumstance would”).

                             5    “Where the debtor articulates a reasonable basis for its business decisions (as distinct from a decision

                             6    made arbitrarily or capriciously), courts will generally not entertain objections to the debtor’s conduct.”

                             7    Comm. of Asbestos-Related Litigants v. Johns-Manville Corp. (In re Johns-Manville Corp.), 60 B.R.

                             8    612, 616 (Bankr. S.D.N.Y. 1986). Courts in the Ninth Circuit have consistently declined to interfere

                             9    with corporate decisions absent a showing of bad faith, self-interest, or gross negligence, and have

                             10   upheld a board’s decisions as long as such decisions were made in good faith. Scouler & Co., LLC v.

                             11   Schwartz, No. 11-CV-06377 NC, 2012 WL 1502762, at *4 (N.D. Cal. Apr. 23, 2012); Berg & Berg

                             12   Enterprises, LLC v. Boyle, 178 Cal. App. 4th 1020, 1046 (2009).
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                             13          The Court may also rely on its equitable powers under section 105 of the Bankruptcy Code to
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                             14   grant the relief requested in this Motion. Section 105(a) of the Bankruptcy Code empowers the Court

                             15   to “issue any order, process, or judgment that is necessary or appropriate to carry out the provisions of

                             16   this title.” 11 U.S.C. § 105(a). Accordingly, the Court may authorize the Debtors to pay the

                             17   Operational Integrity Supplier Claims because such relief is necessary for the Debtors to carry out their

                             18   fiduciary duties under sections 1107(a) of the Bankruptcy Code. Under section 1107(a) of the

                             19   Bankruptcy Code, “the debtor in possession has the same fiduciary duties and liabilities as a Trustee.

                             20   When the debtor is a corporation, corporate officers and directors are considered to be fiduciaries both

                             21   to the corporate debtor in possession and to the creditors.” In re Anchorage Nautical Tours, Inc., 145

                             22   B.R. 637, 643 (B.A.P. 9th Cir. 1992); see also In re Curry & Sorensen, Inc., 57 B.R. 824, 828 (B.A.P.

                             23   9th Cir. 1986) (“[T]he debtor’s directors bear essentially the same fiduciary obligation to creditors and

                             24   shareholders as would a trustee for a debtor out of possession.”).

                             25          Numerous Courts have acknowledged that payment of prepetition obligations, irrespective of

                             26   statutory priorities, may be necessary to realize the objectives of the Bankruptcy Code, such as the

                             27   preservation and enhancement of the value of a debtor’s estate for the benefit of all creditors and other

                             28   stakeholders. See, e.g., Czyzewski v. Jevic Holding Corp., 137 S. Ct. 973, 985 (2017) (noting that

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                             1    courts have approved distributions that are not consistent with ordinary priority rules in instances where

                             2    significant Code-related objectives, such as enabling a successful reorganization, would be served and

                             3    listing examples such as “first-day wage orders that allow payment of employees’ prepetition wages,

                             4    critical vendor orders that allow payment of essential suppliers’ prepetition invoices, and roll-ups that

                             5    allow lenders who continue financing the debtor to be paid first on their prepetition claims”);

                             6    Miltenberger v. Logansport, C&S W.R. Co., 106 U.S. 286, 312 (1882) (payment of pre-receivership

                             7    claim prior to reorganization permitted to prevent “stoppage of the continuance of [crucial] business

                             8    relations”); In re Just For Feet, Inc., 242 B.R. 821, 826 (D. Del. 1999) (allowing payment of prepetition

                             9    claim because debtor could not survive without maintaining customer relationship); In re Financial

                             10   News Network, Inc. 134 B.R. 732, 736 (Bankr. S.D.N.Y. 1991) (payment of prepetition claims allowed

                             11   if “critical to the debtor’s reorganization”); In re NVR L.P., 147 B.R. 126, 128 (Bankr. E.D. Va. 1992)

                             12   (holding that “proponent of the payment must show substantial necessity”); In re Eagle–Picher Indus.,
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                             13   Inc., 124 B.R. 1021, 1023 (Bankr. S.D. Ohio 1991) (stating that payment must be “necessary to avert
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                             14   a serious threat to the chapter 11 process”).

                             15          Although there is a Ninth Circuit decision which fails to recognize the grant of authority given

                             16   by the Bankruptcy Code to elevate certain pre-petition payments over others, that case is easily

                             17   distinguishable from these Chapter 11 Cases and the relief sought herein, as the pre-petition payments

                             18   at issue there were made by the debtor without notice, hearing, or authorization from the Bankruptcy

                             19   Court. In Matter of B & W Enterprises, Inc., 713 F.2d 534, 535 (9th Cir. 1983). Furthermore, although

                             20   the B & W court noted that the “necessity of payment” doctrine was established in railroad

                             21   reorganization cases, id. at 535, numerous courts have extended the doctrine beyond the railroad

                             22   reorganization context. See, e.g., In re Structurlite Plastics Corp., 86 B.R. 922, 931 (Bankr. S.D. Ohio

                             23   1988) (“a bankruptcy court may exercise its equity powers under § 105(a) [of the Bankruptcy Code]

                             24   to authorize payment of prepetition claims where such payment is necessary to permit the greatest

                             25   likelihood of survival of the debtors and payment of creditors in full or at least proportionately”); In re

                             26   Gulf Air, 112 B.R. 152, 153 (Bankr. W.D. La. 1989) (finding that payment of prepetition wage and

                             27   benefit obligations was in the best interest of creditors and necessary for the successful reorganization

                             28   of the debtor and granting the debtor's motion to pay prepetition employee expenses); In re Chateaugay

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                             1    Corp., 80 B.R. 279, 285 (S.D.N.Y. 1987) (finding that Bankruptcy Courts have the authority to

                             2    authorize the debtor to pay certain prepetition claims).

                             3              Moreover, since B & W, the Ninth Circuit has noted in other instances that certain pre-petition

                             4    payments should be authorized regardless of whether they are priority payments under the Bankruptcy

                             5    Code. See In re Adams Apple, Inc., 829 F.2d 1484, 1490 (9th Cir. 1987). In that case, in rejecting the

                             6    appellants’ argument that the cross-collateralization clause in a financing agreement violated the

                             7    “fundamental tenet of bankruptcy law that like creditors must be treated alike,” the Court of Appeals

                             8    noted that the argument was “flawed because the fundamental tenet conflicts with another fundamental

                             9    tenet – rehabilitation of debtors, which may supersede the policy of equal treatment.” Id. The Ninth

                             10   Circuit further stated that:

                             11          [c]ases have permitted unequal treatment of pre-petition debts when necessary for
                                         rehabilitation, in such contexts as (i) pre-petition wages to key employees; (ii) hospital
                             12
                                         malpractice premiums incurred prior to filing; (iii) debts to providers of unique and
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                             13          irreplaceable supplies; and (iv) peripheral benefits under labor contracts.
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                             14   Id.
                             15             Numerous Courts within the Ninth Circuit have followed the reasoning of In re Adams Apple
                             16   in holding that the payment of certain pre-petition claims is not categorically barred when the payments
                             17   promote the rehabilitation of the debtor. See, e.g., In re Pettit Oil Co., No. 13-47285, 2015 WL
                             18   6684225, at *8 (Bankr. W.D. Wash. Oct. 22, 2015) (citing In re Adams Apple Inc. for proposition that
                             19   it “is permissible to treat prepetition debts unequally when necessary for rehabilitation.”); Gordon v.
                             20   Hines (In re Hines), 147 F.3d 1185, 1191 (9th Cir. 1998) (applying “essentially a doctrine of necessity”
                             21   to provide for the payment of the fees of debtor's counsel in chapter 7 cases because without this right
                             22   the “entire [chapter 7] system would suffer a massive breakdown”). Furthermore, several courts within
                             23   this Circuit have granted relief substantially similar to that sought herein. See, e.g., In re Laurel Fertility
                             24   Care, Case No. 14-30403-DM-11 (Bankr. N.D. Cal. May 21, 2014) (approving motion for authority
                             25   to pay pre-petition critical vendor); In re Montgomery-Sansome, LP, Case No. 17-30515-HLB (Bankr.
                             26   N.D. Cal. Sept. 20, 2017) (approving motion for authority to pay pre-petition critical vendor and wage
                             27   claim).
                             28             As set forth in the Wells Declaration, the Debtors have more than ample liquidity in the form

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                             1    of cash on hand and a commitment for approximately $5.5 billion in debtor-in-possession financing.

                             2    The Debtors believe that some of the Operational Integrity Suppliers will demand that the Debtors

                             3    satisfy their prepetition obligations as a condition of doing business on a go-forward basis as a result

                             4    of the commencement of the Chapter 11 Cases. In the three weeks leading up to the Petition Date, the

                             5    Debtors estimate that they have experienced approximately $811 million in trade contraction from

                             6    vendors and suppliers that have demanded accelerated payment, cash-in-advance, new or additional

                             7    cash collateral, or have stopped shipping altogether. Further trade contraction from additional vendors

                             8    could irreparably harm the Debtors’ business operations. Because, as stated, the Operational Integrity

                             9    Suppliers are select suppliers or service providers and/or provide highly specialized goods or services,

                             10   replacing these suppliers is not feasible or would require significant time, expense, and resources.

                             11   Moreover, as set forth above, certain of the Debtors’ Operational Integrity Suppliers possess unique

                             12   certifications, licenses, or specialized knowledge or experience, and the Debtors are not permitted
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                             13   under various state and federal regulations to unilaterally or easily replace such vendors. In addition,
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                             14   the Utility relies on goods and services supplied by certain of the Operational Integrity Suppliers to

                             15   comply with the order appointing a third-party monitor issued by the U.S. District Court for the

                             16   Northern District of California as part of the Utility’s compliance with the sentencing terms of its

                             17   January 27, 2017 federal criminal convictions. The goal of the monitor is to help ensure that the Utility

                             18   takes reasonable and appropriate steps to, among other things, maintain the safety of its gas and electric

                             19   operations. Failure to pay the Operational Integrity Supplier Claims would severely inhibit the

                             20   Debtors’ ability to acquire necessary materials and services and maintain their electric transmission

                             21   and distribution system, generation units, and gas facilities in order to provide essential utilities to the

                             22   population of northern and central California, as well as remain in compliance with state and federal

                             23   laws and regulations, including the 2017 monitor order. Such failure would cause irreparable financial

                             24   harm to the Debtors and may jeopardize the Debtors’ ability to operate in a safe and reliable manner.

                             25   Thus, the Debtors believe that the goods and services provided by the Operational Integrity Suppliers

                             26   are so vital that the costs associated with even the briefest of disruption in goods and services would

                             27   exceed the Operational Integrity Suppliers’ prepetition claims and, therefore, that payment of the

                             28   Operational Integrity Supplier Claims as requested in this Motion is plainly an exercise of sound

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                             1    business judgment and necessary to a successful reorganization. Moreover, as noted above, the

                             2    Operational Integrity Supplier Claims are limited to approximately 5.5% of the Debtors’ total

                             3    outstanding trade debt as of the Petition Date. Accordingly, the Court should authorize the Debtors to

                             4    pay the Operational Integrity Supplier Claims as requested herein.

                             5           B.      Payment of the 503(b)(9) Claims of the Operational Integrity Suppliers is
                                                 Warranted and Should be Approved
                             6           Section 503(b)(9) of the Bankruptcy Code provides that, “[a]fter notice and a hearing, there
                             7    shall be allowed administrative expenses . . . including . . . the value of any goods received by the
                             8    debtor within 20 days before the date of commencement of a case under this title in which the goods
                             9    have been sold to the debtor in the ordinary course of such debtor’s business.” 11 U.S.C. § 503(b)(9).
                             10   The Debtors will be required to pay in full all claims entitled to administrative priority under section
                             11   503(b)(9) of the Bankruptcy Code to confirm any chapter 11 plan filed in the Chapter 11 Cases. See
                             12   11 U.S.C. § 1129(a)(9)(A) (requiring payment in full of claims entitled to priority in order for a chapter
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                             13   11 plan to be confirmed).
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                             14          Although section 503(b)(9) of the Bankruptcy Code does not specify a time for payment of
                             15   these expenses, Bankruptcy Courts have the discretion to allow for distributions to administrative
                             16   claimants prior to confirmation if the debtor has the ability to pay and there is a need to do so. See In
                             17   re Glob. Home Prods., LLC, Case No. 06-10340 (KG), 2006 WL 3791955, at *3 (Bankr. D. Del. Dec.
                             18   21, 2006) (“[T]he timing of the payment of that administrative expense claim is left to the discretion
                             19   of the Court.”); Spartan Plastics v. Verco Indus. (In re Verco Indus.); 20 B.R. 664, 665 (B.A.P. 9th
                             20   Cir. 1982) (“The determination of when an administrative expense is to be paid is within the discretion
                             21   of the [bankruptcy] court.”). Indeed, nothing in the Bankruptcy Code prohibits the Debtors from
                             22   paying such claims sooner if they choose to do so or this Court from exercising its discretion to
                             23   authorize the postpetition payment of such obligations prior to confirmation of a chapter 11 plan. See
                             24   In re Dura Auto. Sys. Inc., Case No. 06-11202 (KJC) (Bankr. D. Del. Oct. 31, 2006) Hr’g Tr. 49:21–
                             25   23 (“I think arguably the [D]ebtor could pay its 503(b)(9) claimants without court approval.”).
                             26          Due to the nature of the Debtors’ businesses, certain of the Operational Integrity Suppliers may
                             27   have Claims that arise from the delivery of essential electrical equipment, specialized replacement parts
                             28   and supplies, operations consumables, raw materials, fuels, and certain other goods in the ordinary
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                             1    course to the Debtors within the twenty (20) days prior to the Petition Date. As of the Petition Date,

                             2    the Debtors estimate that Operational Integrity Suppliers were owed approximately $24,100,000 on

                             3    account of 503(b)(9) Claims. Payment of any 503(b)(9) Claims of any Operational Integrity Supplier

                             4    merely accelerates the timing of payment and not the ultimate treatment of such claims, especially here

                             5    where the Debtors have ample liquidity. Accordingly, the relief should be granted and the Debtors

                             6    should be authorized to pay the 503(b)(9) Claims of any Operational Integrity Supplier in accordance

                             7    with the procedures and protocols set forth herein.

                             8
                                  VII.   BANKS SHOULD BE AUTHORIZED TO RECEIVE, PROCESS, HONOR, AND PAY
                             9           CHECKS ISSUED AND TRANSFERS REQUESTED TO PAY THE OPERATIONAL
                             10          INTEGRITY SUPPLIER CLAIMS
                                         The Debtors further request that the Court authorize, but not direct, Banks to receive, process,
                             11
                                  honor, and pay, to the extent of funds on deposit, any and all checks issued or to be issued and electronic
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                                  funds transfers requested or to be requested by the Debtors relating to the Operational Integrity Supplier
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                                  Claims. The Debtors also seek authority, but not direction, to issue new postpetition checks or effect
                             14
                                  new postpetition electronic funds transfers in replacement of any checks or transfer requests on account
                             15
                                  of any Operational Integrity Supplier Claims dishonored or rejected as a result of the Chapter 11 Cases.
                             16
                                  VIII. RESERVATION OF RIGHTS
                             17
                                         Nothing contained herein is intended to be or shall be construed as (i) an admission as to the
                             18
                                  validity of any claim against the Debtors, (ii) a waiver of the Debtors’ or any appropriate party in
                             19
                                  interest’s rights to dispute any claim, or (iii) an approval or assumption of any agreement, contract,
                             20
                                  program, policy, or lease under section 365 of the Bankruptcy Code. Likewise, if the Court grants the
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                                  relief sought herein, any payment made pursuant to the Court’s order is not intended to be and should
                             22
                                  not be construed as an admission to the validity of any claim or a waiver of the Debtors’ rights to
                             23
                                  dispute such claim subsequently.
                             24
                                  IX.    IMMEDIATE ENTRY OF AN ORDER PURSUANT TO BANKRUPTCY RULE 6003
                             25
                                         Bankruptcy Rule 6003 provides that, to the extent relief is necessary to avoid immediate and
                             26
                                  irreparable harm, a Bankruptcy Court may issue an order granting “a motion to use, sell, lease, or
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                                  otherwise incur an obligation regarding property of the estate, including a motion to pay all or part of
                             28

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                             1    a claim that arose before the filing of the petition” before twenty-one (21) days after filing of the

                             2    petition. As set forth above and in the Wells Declaration, the Debtors believe that some of the

                             3    Operational Integrity Suppliers will demand that the Debtors satisfy their prepetition obligations as a

                             4    condition of doing business on a go-forward basis as a result of the commencement of the Chapter 11

                             5    Cases. The Operational Integrity Suppliers are an integral part of the Debtors’ businesses, and failure

                             6    to pay the Operational Integrity Suppliers could subject the Debtors to a potential significant disruption

                             7    of operations or other material risks to the detriment of all parties in interest, including the 16 million

                             8    California customers that rely on the Debtors for electricity and natural gas service. Accordingly, the

                             9    Debtors have satisfied the requirements for immediate entry of an order granting the relief requested

                             10   herein pursuant to Bankruptcy Rule 6003.

                             11   X.     REQUEST FOR BANKRUPTCY RULE 6004 WAIVERS

                             12          The Debtors request a waiver of the notice requirements under Bankruptcy Rule 6004(a) and
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                             13   any stay of the order granting the relief requested herein pursuant to Bankruptcy Rule 6004(h). As
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                             14   explained above, the relief requested herein is necessary to avoid immediate and irreparable harm to

                             15   the Debtors. Accordingly, ample cause exists to justify the waiver of the notice requirements under

                             16   Bankruptcy Rule 6004(a) and the fourteen day stay imposed by Bankruptcy Rule 6004(h), to the extent

                             17   such notice requirements and stay apply.

                             18   XI.    NOTICE

                             19          Notice of this Motion will be provided to (i) the Office of the United States Trustee for Region

                             20   17 (Attn: James L. Snyder, Esq. and Timothy Laffredi, Esq.); (ii) the Debtors’ fifty (50) largest

                             21   unsecured creditors on a consolidated basis; (iii) the Securities and Exchange Commission; (iv) the

                             22   Internal Revenue Service; (v) the Office of the California Attorney General; (vi) the California Public

                             23   Utilities Commission; (vii) the Nuclear Regulatory Commission; (viii) the Federal Energy Regulatory

                             24   Commission; (ix) the Office of the United States Attorney for the Northern District of California; (x)

                             25   counsel for the agent under the Debtors’ proposed debtor in possession financing facilities; (xi) the

                             26   Banks; and (xii) those persons who have formally appeared in these Chapter 11 Cases and requested

                             27   service pursuant to Bankruptcy Rule 2002. Based on the urgency of the circumstances surrounding

                             28   this Motion and the nature of the relief requested herein, the Debtors respectfully submit that no further

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                             1    notice is required.

                             2           No previous request for the relief sought herein has been made by the Debtors to this or any

                             3    other court.

                             4           WHEREFORE the Debtors respectfully request entry of an order granting the relief requested

                             5    herein and such other and further relief as the Court may deem just and appropriate.

                             6    Dated: January 29, 2019
                             7                                                        WEIL, GOTSHAL & MANGES LLP

                             8                                                        KELLER & BENVENUTTI LLP

                             9
                                                                                      By: /s/ Tobias S. Keller
                             10
                                                                                             Tobias S. Keller
                             11
                                                                                      Proposed Attorneys for Debtors
                             12                                                       and Debtors in Possession
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